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MAPLE EYE AND LASER CENTER

Henry C. Oksman, PhD, MD Howard S. Kornstein, MD
Jacob D. Rosenbaum, MD

March 17, 2021
To Whom It May Concern:

| am an ophthalmologist licensed to practice in New York State. Michael Binday was my
patient prior to his incarceration in 2016. From email correspondence with Mr. Binday
and his wife, | am aware that he recently underwent surgery to repair a retinal detachment
on one of his eyes and that he is being monitored for possible sight-threatening
developments in his recovery

As an ophthalmologist | am cognizant of the fact that one must be very vigilant in
managing the healing process after surgery. Unfortunately, those who are incarcerated are
often unable to get timely attention when worrying symptoms arise. | am fearful that Mr.
Binday may lose sight in his surgically -repaired eye because of a delay in examination or
intervention.

| would urge the authorities in charge of Mr. Binday’s incarceration to compassionately
consider transferring him to home confinement. In that way, he and his family will be
able to coordinate his medical needs in a timely manner and the risk of permanent visual
loss will be substantially reduced

Sincerely, "A oa

Howard S. Kornstein, MD

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